         Case 1:19-vv-01333-UNJ Document 41 Filed 05/25/21 Page 1 of 3




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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SANDRA MEADOR,                        *
                                      *
                                      *      No. 19-1333V
                   Petitioner,        *      Special Master Christian J. Moran
                                      *
v.                                    *
                                      *      Filed: April 28, 2021
SECRETARY OF HEALTH                   *
AND HUMAN SERVICES,                   *      Entitlement; dismissal.
                                      *
                   Respondent.        *
*********************
David J. Carney, Green & Schafle, LLC, Philadelphia, PA, for petitioner;
Adriana R. Teitel, United States Dep’t of Justice, Washington, D.C., for
respondent.

          UNPUBLISHED DECISION DENYING COMPENSATION1

      Sandra Meador alleged that the influenza (“flu”) vaccine she received on
October 11, 2016, caused her to develop rheumatoid arthritis (“RA”). Pet., filed
Aug. 30, 2019, at 1-2. On March 2, 2021, Ms. Meador moved for a decision
dismissing her petition.

         I.   Procedural History

       Sandra Meador (“petitioner”) filed a petition on August 30, 2019. She then
filed relevant medical records, which were complete on February 28, 2020. On
March 17, 2020, a status conference was held in which petitioner was ordered to
begin the process of retaining an expert and a deadline was set for the Secretary’s

1
  The E-Government, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). Pursuant to Vaccine Rule 18(b), the parties have 14 days to
file a motion proposing redaction of medical information or other information described in 42
U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special master will appear in the
document posted on the website.
        Case 1:19-vv-01333-UNJ Document 41 Filed 05/25/21 Page 2 of 3




Rule 4(c) report. The Secretary filed his Rule 4(c) report on June 15, 2020. In the
report, the Secretary challenged causation. Resp’t’s Rep. at 8-9.

       In a status conference held on June 29, 2020, the undersigned discussed the
potential effect of his decision in Tullio v. Secretary of Health & Human Services,
No. 15-51V, 2019 WL 7580149 (Fed. Cl. Spec. Mstr. Dec. 19, 2019), mot. for rev.
denied, 149 Fed. Cl. 448 (2020), on petitioner’s flu-RA claim. In the order
following this status conference, the undersigned stated that any expert retained by
petitioner should advance a different theory than the experts in Tullio for the case
to proceed.

       Petitioner then attempted to procure an expert over the ensuing months,
requesting two extensions to her expert report deadline, but was unable to retain an
expert to provide an opinion in her case. On March 2, 2021, petitioner filed a
motion for a decision dismissing her petition, “based on the inability to secure a
supportive expert . . . beyond the opinions that were already rejected by the instant
Special Master in Tullio v. Sec’y of HHS.” Pet’r’s Mot. at 1. In this motion,
petitioner requested that the undersigned issue a dismissal decision; however, the
motion was filed in CM/ECF as a Motion for Voluntary Dismissal pursuant to
Vaccine Rule 21(a). On April 28, 2021, petitioner was ordered to file a status
report clarifying whether she intended to file a Motion for Voluntary Dismissal or
a Motion for Dismissal Decision, which would result in a judgment. On April 28,
2021, petitioner filed a status report stating that she intended to file a Motion for
Dismissal Decision and “understands that a decision by the Special Master
dismissing her petition will result in a judgment against her.” Pet’r’s Status Rep.,
filed Apr. 28, 2021, at 1. The Secretary did not file a response to petitioner’s
motion. Therefore, this matter is now ready for adjudication.

       II.   Analysis

       To receive compensation under the National Vaccine Injury Compensation
Program (hereinafter “the Program”), a petitioner must prove either 1) that the
vaccinee suffered a “Table Injury” – i.e., an injury falling within the Vaccine
Injury Table – corresponding to one of the vaccinations, or 2) that the vaccinee
suffered an injury that was actually caused by a vaccine. See §§ 300aa-13(a)(1)(A)
and 300aa-11(c)(1). Under the Act, a petitioner may not be given a Program award
based solely on the petitioner’s claims alone. Rather, the petition must be
supported by either medical records or by the opinion of a competent physician.
§ 300aa-13(a)(1).


                                          2
        Case 1:19-vv-01333-UNJ Document 41 Filed 05/25/21 Page 3 of 3




       In this case, petitioner filed medical records in support of her claim, but
wishes to have her claim dismissed and judgment entered against her. Though
petitioner filed this motion pursuant to 42 U.S.C. § 300aa—21(a) (regarding
voluntary dismissal), the undersigned will construe this as a motion filed pursuant
to 42 U.S.C. § 300aa—21(b) (regarding involuntary dismissal), given petitioner’s
clear intent that a judgment issue in this case, protecting her right to file a civil
action in the future. See Pet’r’s Status Rep., filed Apr. 28, 2021, at 1.

      To conform to section 12(d)(3), a decision must “include findings of fact and
conclusions of law.” Here, without the support of a medical expert or additional
evidence supporting causation other than petitioner’s medical records, the evidence
weighs against a finding that Ms. Meador developed RA as a result of the flu
vaccine.

      Thus, the Motion for Decision is GRANTED and this case is
DISMISSED WITH PREJUDICE for insufficient proof. The Clerk shall
enter judgment accordingly. See Vaccine Rule 21(b).

      IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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